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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

SUSAN HOLLAND,

               Plaintiff,

       v.                                         CASE NO.: 8:10-CV-2632-T-26TGW


BUREAU OF COLLECTION RECOVERY,

            Defendant.
____________________________________/

                 STIPULATION TO DISMISS CASE WITH PREJUDICE

        Plaintiff, SUSAN HOLLAND, and Defendant, BUREAU OF COLLECTION

RECOVERY, through their respective counsel, stipulate to dismiss the above-captioned action

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with prejudice, each side to bear

their own fees and costs.

DATED: March 1, 2012                     RESPECTFULLY SUBMITTED,

                                         KROHN & MOSS, LTD.


                                    By: /s/ Shireen Hormozdi             .

                                         Shireen Hormozdi
                                         FBN: 0882461
                                         Krohn & Moss, Ltd
                                         10474 Santa Monica Blvd. Suite 401
                                         Los Angeles, CA 90025
                                         Tel: (323) 988-2400 x 267
                                         Fax: (866) 861-1390
                                         Email: shormozdi@consumerlawcenter.com
                                         Attorney for Plaintiff

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DATED: March 1, 2012              RESPECTFULLY SUBMITTED,

                                  SOUTH MILHAUSEN, P.A.

                             By: /s/ Ernest H. Kohlmyer           .

                                  Ernest H. Kohlmyer, III
                                  Florida Bar No. 0110108
                                  South Milhausen, P.A.
                                  Gateway Center
                                  1000 Legion Place, Suite 1200
                                  Orlando, Florida 32801
                                  (407) 539-1638 – Telephone
                                  (407) 539-2679 – Facsimile
                                  Skohlmyer@southmilhausen.com
                                  Attorney for Defendant




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                                      PROOF OF SERVICE

       I am employed in the County of Los Angeles, State of California. I am over the age of
18 and not a party in this action. My business Address is 10474 Santa Monica Boulevard, Suite
401, Los Angeles, California 90025.

     On March 1, 2012, I served the following documents: STIPULATION TO DISMISS
CASE WITH PREJUDICE

       On the parties listed below:

      Ernest H. Kohlmyer, III                  Attorneys for Defendant,
      South Milhausen, P.A.                    BUREAU OF COLLECTION RECOVERY
      Gateway Center
      1000 Legion Place, Suite 1200
      Orlando, Florida 32801

       By the following means of service:

[ ]    BY ELECTRONIC SERVICE: the documents above were delivered electronically
       through the Court’s ECF/PACER electronic filing system, as stipulated by all parties to
       constitute personal service.

[ ]    BY ELECTRONIC MAIL: I transmitted the document(s) listed above electronically to
       the e-mail addresses listed above. I am readily familiar with the firm’s Microsoft
       Outlook e-mail system, and the transmission was reported as complete, without error.

[X]    BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The
       envelope was mailed with postage thereon fully prepaid. I am readily familiar with the
       firm’s practice for collection and processing correspondence for mailing. Under that
       practice, this document will be deposited with the U.S. Postal Service on this date with
       postage thereon fully prepaid at Los Angeles, California in the ordinary course of
       business. I am aware that on motion of the party served, service is presumed invalid if
       postal cancellation date or postage meter date is more than one day after date of deposit
       for mailing in affidavit.

[X]    FEDERAL: I declare under penalty of perjury under the laws of California that the
       above is true and correct.

       Executed on March 1, 2012, at Los Angeles, California.


                                                   By: /s/ Shireen Hormozdi        .

                                                           Shireen Hormozdi




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